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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION

CRISTHIAN ZUNIGA HERNANDEZ,
LUIS ALFONSO PALMILLAS LOPEZ, and
RAMON RODRIGUEZ MENDEZ

              Plaintiffs,

                                                      Case No. 5:23-cv-00023
v.
MARIA LETICIA PATRICIO,
ENRIQUE DUQUE TOVAR,
JOSE CARMEN DUQUE TOVAR, and
MBR FARMS, INC., a Georgia corporation,

                                                ,

              Defendants.


                            DECLARATION OF CHARLIE Y. WANG

       I, CHARLIE Y. WANG, pursuant to 28 U.S.C. § 1746 declare as follows:

1.     I am an associate attorney at Vedder Price located at 1925 Century Park East, Suite 1900,

Los Angeles, CA 90067. I am counsel for plaintiffs Cristhian Zuniga Hernandez, Luis Alfonso

Palmillas Lopez, and Ramon Rodriguez Mendez.

       2.     On June 20, 2023, my office retained engaged Ancillary Legal to effect service

upon Defendants Maria Leticia Patricio, Enrique Duque Tovar, Jose Carmen Duque Tovar .

       3.     Ancillary Legal has attempted service on Defendants Maria Leticia Patricio,

Enrique Duque Tovar, Jose Carmen Duque Tovar on June 23, 2023. As of today, however, June

30, 2023, service has not yet been completed.

       4.     Attached as Exhibit A are true and correct copies of the nonservice affidavits by

Ancillary, which describe their efforts to serve Defendants Maria Leticia Patricio, Jose Carmen
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Duque Tovar. According to the affidavits, Defendants Maria Leticia Patricio, and Jose Carmen

Duque Tovar were not at their last known addresses.

         5.      Plaintiffs expect service on Defendant Enrique Duque Tovar to be completed within

the next few weeks.

         6.      Service was not attempted earlier as Plaintiffs have been trying to find valid

addresses for Defendants Maria Leticia Patricio, Enrique Duque Tovar, Jose Carmen Duque

Tovar.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

June 30, 2023.

                                                    BY:
                                                          Charlie Y. Wang
